Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 1 of 29




                             UN ITED STA TE S D ISTR IC T C O U R T
                             SO U TH ER N DISTR IC T O F FL O R ID A
                                           cAssNo.:/> c ;Blo33< /DDi&-VVôôK'
                                                                           -C
   SECURITIESAND EXCHANGE COMMISSIYN,
                                                                              F11
                                                                                -L-
                                                                                  'D by                D.C.
                                                                          !
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                                       Plaintiff,                                                          ,

                                                                                                           :

                                                                                 $E-?
                                                                                 %  , 2# 2(112
                                                                                 srEvnhlM ucRsr$roRu
   JOSEPH HILTON F/K/A JOSEPH YURKINJ                                             h'I
                                                                                    bERKrp(1b
                                                                                  1. .oF
                                                                                              D-ls
                                                                                            -$,   T.:cB.
                                                                                                 w.   T.
                                                                          ,
   PAC IFIC N O R TH W E STE RN EN ER G Y LLC ,
   ROCK CASTLE DRILLING FUND LPJ
   ROCK CASTLE DRILLING FUND 11LP,AND
   N EW H O R IZO N PU BLISH IN G IN C .

                                      D efendants.
                                                        )
                   COM PLAINT FOR INJUNCTIVE AND OTHER RELIEF

         PlaintiffSecuritiesand ExchangeCommission alleges:

                                      1. IN TR O DU CTIO N

         1.     TheCommissionbringsthisactiontoenjoinarecidivistsecuritiesviolatorandthe
  com panies he controls from continuing to defraud investors through the ongoing sale of

  securitiesin violation oftheanti-fraud and registration provisionsofthefederalsecuritieslaws.

                In 2010, this D istrict Court entered a Final Judgm ent, by consent, in an

  enforcem entaction the Com mission filed againstJoseph Yurkin for violationsofthe anti-fraud

  and registration provisionsofthe federalsecuritieslaws. Yurkin has since changed hisname to

  Joseph H ilton so potential investors w ill not lem'n of his past and has gone on to defraud

  investorsagain- notonce,butatleasttwice.

                From no laterthan M arch 2011 tmtilJanuary 2012, Hilton sold securities in the

  form oflimited partnership tmitsin atleastthreeoildrillingprojectsin Tennesseesponsored by
  United StatesEnergyCorporation CûU.S.Energy'').Tolureinvestors,Hiltonmisrepresentedhis
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 2 of 29



  '

       identity,therisksassociated with the investment, the anticipated dividendsdueto investors,and

       the am otm tofoilU S Energy'sw ellsproduced.

                     N ot only did Hilton m ake false representations to potentialinvestors, he also

      m anaged aboilerroom and sales agentsto assisthim in soliciting contributions. H ilton caused

      companies he controls, Pacific Northwestern Energy LLC Ctpacific'') and New Horizon
      Publishing lnc.,to pay these sales agents com missions in exchange for finding investors and

      selling U S Energy securities.

              5.     The U S Energy offeringsraised approxim ately $2.5 m illion from m ore than 100
      investorsnationwide.

                     ln a second seriesofofferingsfrom Febnmry 2012 to the present,Hilton, Pacific,

      Rock Castle Drilling Fund LP (tçllock Castle1'3,and Rock CastleDrilling Fund 11LP (û:lkock
      Castle11'')haveraised atleast$789,000from approximately 76investorsnationwidebyoffering
      and selling unregistered securities in the form ofunits consisting ofpartnership sharesin Rock

      Castle I and Rock Castle Il. The companies purportedly generate profks from oi1 drilling

      projectsinKentucky.
                     In connedion with theofferand saleofthese seeurities,Hilton, Pacitk ,Rock Castle

      1,and R ock Castle 11are m aking num erous m aterialm isrepresentations and om issions to investors

      in telephone conversations,m arketing m aterials, a pri
                                                            vate plaeementmemoranda (ttPPM ''),and
      filingswith the Com mission. These include falseclaim sthatRock Castle lisddlling in oi1fields

      Exxon M obilCoporation abandoned because Eu on - unlike Rock Castle l- purportedly lacked

      thetechnologytocapturetheoil.

             8.     Hilton,Pacific,Rock Castle 1,and Rock Castle 11 are also overstating Pacifc's oil

      wellproduction and drilling success by telling potential investors Pacific's drillers successfully
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 3 of 29



   drilled a wellin 2011 thatproduces 300 barrels ofoileach day. These claim s are patently false.

   ExxonhasneverdrilledforotlorheldadrillinglieenseintheRoek Castleloi1Geld.Norhasthe
   well Hilton touts ever produced 300 ban-els of oil each day.       Instead, that well produces
   approxim ately 10 barrelsofoileach day.

                 Additionally,Pacific and Rock CastleItoutHilton'ssuccessfulbusinessexperience

   in theoilindustry and assurepotentialinvestorshehasneverbeenthesubjectofstateregulatory
   actionsora court-im posed receivership. ln truth,however, Hilton'sexperience in the oi1indtlstry

   only began lastyear,when hebegan soliciting investorsforthe U .S.Energy offerings. Further,in

   additiontothepriorComm ission action,severalstateshaveim posed eease-and-desistordersagainst

   Hilton to preventhim from engaging inthesaleofsectzrities.

                 Additionally,Rock Castle 11asstlres investorstheir contributions are notgoing to

   linethepocketsofHilton when,in truth, Hilton isfunneling investorcontributionstohim self.

          11.    Through theirconduct,Hilton,Pacitk ,Rock Castle 1, and Rock Castle 11each are

   violating the anti-fraud and registration provisions of the federal securities laws, and Hilton,

  Paeitk ,and New Horizon are violating the registration provisionsofthe federalsecuritieslaws.

  Based on the ongoing nature of their violations and the scienter the Defendants have

  dem onstrated through their willful and wanton disregard for the federal securities laws, the

  Defendants have show n they w ill continue to violate the law unless the Court grants the

  injunctiveandotherrelieftheCommissionseeks.
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 4 of 29




                         lI. DEFEND AN TS A ND RELA TED ENTITIES

                                             D efendapts

          12.    Hilton,51,residesin Boca Raton,Florida, and isthepresidentofPacitk andNew

   Horizon. From M arch 2011 untilJanuary 2012,Hilton wasVice PresidentofUS Energy. H e

   wasknown by hisgiven nnm e,Joseph Yurkiù,untilNovember2011, when hechanged hisname

   to Joseph Hilton. The Comm ission previously filed an enforcem entaction against Hilton for

   violationsofthe federalsecm ities laws. See SEC v. Homeland Communications Corp.,eta1.,

   CaseNo.07-80802-MA1UG (S.D.Fla.Nov.16,2007),in which Hilton consented to a Final
   Judgmentenjoininghim from futureviolationsoftheanti-fraudandregistrationprovisionsofthe
   federal securities law s, im posing a penny stock bar, and ordering him to pay $915,704 in

   disgorgement,prejudgment interest and civil penalties. Hilton has not satisfied the Final
   Judgment. ln 2008,the Com m ission entered an order barring Hilton from associating with a

   broker-dealer.IntheM atteroflosephYurkin,ExchangeActReleaseNo.58768(Oct.10,2008).
   ln addition,Texas and Colorado have entered cease-and-desistordersagainstHilton to prevent

  him from offeringsecurities.IntheMatterofHomeland CommunicationsCory ,etal.,CaseNo.
  EnF06-CDO-1621(Tex.Oct.12,2006);fntheMatterofunitedStatesA'
                                                            ncrgv Corp,et.al,Case
                                                                            .



  No.XY 12-CD-07 (Co1o.,Feb.2,2012). HiltonhasneverbeenregisteredwiththeCommission
  in any capacity.

         13.    Pacific is a W yom ing corporation incorporated in N ovem ber 2011 w ith its

  principalplacesofbusinessin Cheyenne,W yoming. Pacific purportsto be in thebusinessofoil

  developm entand investm entw ith drilling locations in the Kentucky region known asthe ût-l-he

  Knox Form atiom'' Pacitk hmsneverregistered any offering ofseclzritiesora classofsecurities

  with theCom mission.


                                               4
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 5 of 29




           14.     Rock Castle 1is a W yom ing limited partnership incorporated in Febrtlary 2012,

   w ith its principalplace ofbusiness in Boca Raton, Florida. The Com pany is purportedly in the

   business of acquiring oildrilling leases and drilling for oil, and Pacifk isthe generalpartner.

   Rock Castle I has never registered any offering of securities or a class of securities with the

   Com m ission.

                   Rock Castle 11isa W yoming limited partnership incorporated in June 2012 with
   itsprineipalplace ofbusiness in Boca Raton, Florida. The Company isptlrpprtedly in the sam e

   businessasRock Castle 1,and Pacific isthe generalpartner. Rock Castle 11hasneverregistered

   any offering ofsecurities ora class ofsectlritiesw ith the Com m ission.

                   N ew Horizon is a Florida corporation Hilton incorporated in M arch 2009 that

   purportsto bein thebusinessofselling salesleads.Hilton isthesole ofticerand directorofNew

   Horizon. TheCompany hasneverbeen registered withthe Com m ission in any capacity.

                                  B. R elated Entities and lndividuals

          17.      U S Energy is a Florida corporation with its principal place of business in

  Clearwater,Florida. Hilton served asVice PresidentofUS Energy from March i011 until
  January 2012. ltis engaged in the businessofU .S.oi1exploration and investm entand served as

  the general partner for at least three offerings of participation or limited partnership units,

  including in the TN -K Y D evelopm entFund, L.
                                               P.CtTN-KY 155),theTN-KY DevelopmentFund
  11,L.P.(CCTN-KY 1155),andtheTN-KY DevelopmentFund111,L.P.(ItTN-KY 11155)(collectively,
  CCTN-KY 1-11155).US Energy commencedtheTN-KY IofferinginapproximatelyM ay 2011,the
  TN-KY 11 offering in approxim ately Septem ber 2011, and the TN -KY IIl offering i
                                                                                   ln
  approxim ately Novem ber2011. ln January 2012,the state ofPennsylvania issued a cease-and-

  desistorder againstUS Energy preventing itfrom offering securities. In theMatterof TN-KY
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 6 of 29




   DevelopmentFund 11L         et.al,Admin.Proc.DocketNo.2012-01-06 (Jan.25,2012). In
   February 2012,the State ofColorado issued aeease-and-desistorderpreventingUS Energy from

   offeringsecurities. In theM atterof United StatesFncrr Corp,et.al,CaseNo.XY 12-CD-07
   (February2,2012).US EnergyhasneverbeenregisteredwiththeCommissioninany capacity.
                 TN-KY 1-111 are Florida lim ited partnerships started in Jtme 2011, Septem ber

   2011 and Decem ber2011,respectively,and are located in Clearwater, Florida. They are in the

   businessofacquiring oildrilling leasesand drilling foroil. US Energy isthegeneralpartnerfor

   a11thepartnerships.Noneofthepartnershipshaveregistered any offering ofsecuritiesunderthe

   Securities Actor a class of securities tmderthe Exchange Act. In January 2012,the State of

   Pennsylvania issued a cease-and-desist order against TN -KY I1I to prevent it from offering

   securities.fn theMatterOJ-TN-KYDevelopmentFundI1L L.P.,et al,Admin.Proc.DocketNo.
                                                                  .



   2012-01-06(Jan.25,2012).
                              111. JU RISDIC TIO N A N D V EN U E

                The Courthasjurisdiction overthisactionpursuantto Sections20(b),20(d),and
   22(a)ofthe SecuritiesAct,15 U.S.C.jj 77t(b),77t(d),and 77v(a);and Sections21(d),21(e),
  and Section 27 ofthe Exchange A ct, 15U.S.
                                           C.jj78u(d),78u(e),and 78aa.
         20. ThisCourthaspersonaljurisdiction overtheDefendants,and venueisproperin
  the Southel'
             n District of Florida, because m any of the Defendants' acts and transactions

  constituting violations of the Securities A ct and the Exchange A ct occurred in the Southern

  D istrict of Florida. ln addition, N ew H orizon, Rock Castle I and Rock Castle Il's principal

  placesofbusinessare in the Southem DistrictofFlorida, Hilton residesin the Southern District

  ofFlorida,Hilton m anagesPacifk 'soperationsfrom the Southez.
                                                              n DistrictofFlorida, and Pacific

  receivesinvestorcontributionsatitsaddressin BocaRaton, Florida.


                                               6
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 7 of 29



                  In connection with the conductalleged in thisCom plaint,the Defendants, directly

   and indirectly,singly or in concel'
                                     tw ith others,have m ade use of the m eans or instnzm entalities

   of interstate comm erce, the m eans or instrum ents of transportation and communication in

   interstate com m erce,and the m ails.

                                   IV. TH E US ENERGY FRAUD

                              A . The U S Enera A nd TN -K Y 1-111 O fferines

          22.     ln approxim ately M ay 2011,U S Energy began offering lim itedpartnerinterestsin

   TN-KY 1. The term s of the offering were mem orialized in a PPM , pursuant to which each

   partnership unitconsisted ofa .5 percentworking interestand .3 percent netrevenue interestin

   TN-KY I'sdrilling leases,priced at$5,000 each. The PPM stated US Energy soughtto raise $1
   million forthisoffering.

          23.     According to the PPM ,TNLKY 1would acquire a 100 percentworking interest

   and a 60 percentnetrevenue interestin drillsite locations in Overton County, Tennessee and

   Christian County, Kentucky, and would generate profits by drilling eight wells there.

   According to the PPM ,a working interestisdefined as ûGan interestin an oiland gaslease that

   gives the owner of the interest the right to drill for and produce oil and gas on the leased

  azTeage....:7

         24.      ln approxim ately Septem ber 2011, US Energy began offering lim ited partner '

  interests in TN-KY II. The term s ofthe offering were m em orialized in a PPM , pursuant to

  which each partnership unitconsisted ofa .5 percentworking interestand .3 percentnetrevenue

  interestin TN-KY Il'sdrilling leases,priced at$5,000 each. The PPM stated US Energy sought

  toraise $875,000 forthisoffering.



                                                  7
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 8 of 29



           25.     A ccording to the PPM forthe TN -KY 11offering, TN -K Y 11w ould acquire a 100

   percent w orking interest and a 60 percent netrevenue interest in drillsite locations in Overton

   County,Tennessee and M onroe County,K entucky, and would generate profits by drilling five

   w ellsthere.

                   In approximately N ovember 2011, US Energy began offering lim ited partner

   interests in R7b1-i25r111. The tenns ofthe offering were m emorialized in a PPM , pursuant to

   whieh eaeh partnership uniteonsisted ofa2 percentworkinginterestand 1.2 percentnetrevenue

   interest in TNLKY IIl's drilling leases,priced at $17,500 each. The PPM stated US Energy
   soughtto raise$875,000 forthisoffering.
                   According to the PPM forthe TN-KY Il1offering, TN -K Y IlI would acquire a

   100 percent working interest and a 60 percent net revenue interest in drill site locations in

   Overton County,Tennessee and M onroe or Cum berland County, Kentucky,and would generate

   profitsby drilling five w ells there.

          28.     No registration statementhas been tsled orwasin effectwith the Com m ission in

  connection with the securitiesUS Energy offered in TN-KY 1, TN -K Y l1,or TN -K Y 111,nor is

  US Energy entitled to any registration exem ption.

                                       B. Solicitation ofInvestors
          29.     From M arch 2011 tmtil January 2012, Hilton solicited investor contributions for

  US Ehergy,both diredly and by m anaging a sm allboilerroom in BoeaRaton whereHilton and

  atleasttw o otherindividualsplaced cold callsto potentialinvestorsnationw ide.

          30.     After contacting potential investors by telephone, Hilton sent them m arketing

  materialsthatincludedaletterhesigned,adocumentHiltoncreatedshowingprojectedearnings,
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 9 of 29



   a PPM ,and an investm entsuitability questionnaire. Hiltonthen placed additionaltelephonecalls

   to potentialinvestors to close the sales.

                    Hilton sentfrequente-m ailsto potentialand existing investorsupdating them on

   the statusofU S Energy'soi1drilling effortsand encottraging them to make initialoradditional

   investm ents.

                   By M arch 2012,US Energy had raised m ore than $2.5 million from more than
   100 investors.

                C . M isrepresentations and O m issions in the U S Enera O fferinzs

          33.      ln colmection with US Energy's TN-KY 1-111 offerings, Hilton made m aterial

   misrepresentationsand omissionsabout:(1)USEnergy'soilwellassets;(2)theconsequenceof
   findilig naturalgasintheoilwells;(3)thestatusandproductivity ofthewells;and(4)projected
   m onthly incom e.

                         1. False Statem entsA boutU S Energy's W ellA ssets

                   Hilton madefalse statem entsto potentialinvestorsaboutthenum berand location

  ofUS Energy's wells. Forexam ple, f'
                                     rom approxim ately June 2011 untilJanuary 2012, H ilton

  senta letter bearing his signature to potentialinvestors stating US Energy owned 53 active oi1

  and gaswellsin Kentucky and Tennessee. This claim w as patently false. As ofJune 1,2011,

  US Energy had no active oilwellswhatsoeverand hasneverowned any wellsin Kentucky. A s

  Vice PresidentofUS Energy,Hilton received wellstatus spreadsheets, and those spreadsheets

  showed only 18 wellsasofJanuary 2012. Thus,he knew US Energy did notown 53 activeoi1

  and gaswells.
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 10 of 29




                 On August 6, 2011 and again on Septem ber 29,2011,Hilton sent em ails to

   potentialinvestorsclaim ing US Energy had plansto drillforoilin W yom ing and North Dakota.

    Thisclaim wasalso false.US Energy had no plansto drillin W yom ingorNorth Dakota.

          36.    Between September2011and January 2012, H ilton em ailed investors on at least

   eightoccasionsnoting theexistenceotlorfuture plansfor,additionaland separatenattlralgas
   wells.These statem entswexefalse.U S Energy hadnonaturalgaswells.

          37.    As Vice President of US Energy, Hilton received spreadsheets showing U S

   Energy'swellassets,which included only oilwells,andknew U S Energy wasnotin thebusiness

   ofdrilling naturalgaswells. Further,Hilton knew US Energy laeked resourcesto drillin N orth

   DakotabecauseUS Energy'sCEO told him the costwastoo high - in theareaof$15 million.

                    2. M isleadina Statem entsAboutNaturalGasProduction

          38.    Hilton lured potentialinvestorsby making false statements thatU S Energy had

   naturalgaswells- when ithad none- and m isleading statementsthatrevenuewould increase if

   naturalgaswashit.Forexample,in em ailsto investors, Hilton m aintainedthesaleofnaturalgas

   encountered in the oilw ells would translate into additional revenue for unit holders. This

   statement was misleading because Hilton failed to tell potentialinvestors finding natm algas

   dim inished and disnzpted oilproduction,anattlralgaspipeline wasrequired to accomm odatethe

   m oduetion of natlzral gas from a well,and itw ould be necessary for US Energy to expend

   resourcesto erectaplantatthewellsiteto handle and com mercializethe naturalgas.

         39.    N onetheless,H ilton continued to tout the existence, com pletion,and production

   ofmultiple naturalgas wells by US Energy,despite knowing US Energy lacked a naturalgas

   well,1etaloneaplantto eomm ercializenaturalgas.
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 11 of 29




                                  3. W ellStatus A nd Productivitv

           40.    Hilton also m isrepresented to investorsthe status of specific w ells. For exam ple,

    on November11and Novem ber 16,2011,Hilton announced to investorsthe so-called ûçLinder''

    wellwas going into production and was çûhighly successful.'' This statementwas false. W hen

   Hilton madethese announcem ents,thettLinder''wellwasnotproducing any oil.

                  On Decem ber 15,2011,Hilton em ailed investorsto tellthem thatthe ttstover//75'

   and çûM elton //15'wells were in the tçcompletion stage.'' Once an oi1well is verified to have

   commercially viable quantitiesofoi1forextraction itmustbe çûcom pleted''by strengthening the

   well hole with casing, evaluating the presstlre and temperature of the form ation, and then

   insGllingtheproperequipm entto ensurean efficientflow ofoiloutofthewell.

          42.    Hilton's statem ents about the ûûstover #7''and ûtM elton //15'wells were false.

   W hen Hilton madethese statem ents,thewellshad notreached the completion stage.

          43.    Hilton received spreadsheets detailing oilproduction for each of U S Energy's

   wellsand also received oralproduction updatesfrom U .S.Energy'spresidenton an alm ostdaily

   basis,and therefoxeknew hisstatementsaboutUS Energy'swellstatuswerefalse.

          44.    Hilton also falsely represented how much oi1US Energy'swells produced. For

   example,Hilton created and distributed to potentialinvestorsm aterialsfalsely claim ing each of

   US Energy's eight oilwells was projected to produce 100 barrels per day.Hilton had no
   reasonable basis to make these claim s. W hen Hilton m ade these claim s, U S Energy's m ost

   productivewellwasproducing approximately 10 barrelsofoilperday- orjustten percentof
   whatHilton claim ed.

         45.     Hilton also m adefalseclaim sto potentialinvestorsaboutoilproduction in emails.

   For exnmple,on August 8, 2011,Hilton emailed investors that 115 barrels of oi1 would be
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 12 of 29




   transported every five or six days from the so-called ttRuble'' well. On September 2,2011,

   H ilton em ailed investorsthe so-called Gtcooper''w ellwasproducing 70 barrelsperday, w hile the

   ûtltuble''wellwasproducing ç1300+''barrelsperday.

            46.   These claim swerea1lfalse. The Rublewellhasneverproduced 300barrelsofoi1

   perday. ltproducesan average ofonly 10 barrelsperday. Nordid theCooperwellproduce 70

   barrelsofoi1perday.

            47.   Hilton had no basis for m aking these false statem ents about US Energy's oi1

   production and knew these statem entsw ere false because he received oi1production reports and

   oralprodudion updates from U .S.Energy's president on a nearly daily basis when he made

   them .

                                   4. Proiected M onthlv Incom e
                                          .




            48.   Hilton's exaggerated production claims underpinned hiswildly inflated m onthly

   incomeprojections. In 2011,Hilton created and distributed to potentialinvestorsaprojection
   sheet estim ating TN-KY l investors who purchased a unit for $5,000 would em'n monthly
   revenueof$3,886.00 to $4,100.00 perunit.
            49.   Sim ilarly,in a June 1,2011 letterfrom H ilton to potentialinvestors, heprojected

   revenueofapproxim ately $6,400 perm onth perunit.
            50.   Hilton had no reasonable basisformaking these representations. H e based these
   estim ateson hisfalseclaim sthatthewellscould produce 100 barrelsperday. However,Hilton

   received oil production updates from U .S. Energy's president on a nearly daily basis that

   reflected farlessthan whatheestimated to investors.
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 13 of 29




                  D. H ilton's Schem e T o ConcealH isB ackzround A nd SolicitInvestors

                     From no laterthan M arch 2011 untilapproxim ately January 2012,H ilton engaged

   in a fraudulent schem e to conceal from investors the Com m ission's prior enforcem ent action

   againsthim fordefrauding investorsand theFinalJudgm entagainsthim in thatcase.

            52.      N ot only did H ilton fail to disclose the prior Com m ission against him , but he

   assum ed an aliasso potentialinvestorswould notrealize he wasactually Joseph Yurkin,against

   whom the Com m ission obtained a tem porary restraining order for defrauding investors in

   connection with an offering fraud in 2007,and againstwhom the state ofTexas had entered a

   cease-and-desistorderbarring him from offering and selling securities.

                     ln Novem ber 2011, Hilton form ally changed his nam e through the state of

   Florida,and did soto avoid association with thepriorComm ission action.

            54.      H ilton used an alias and then changed his nam e in order to avoid negative

   association with his regulatory history - a history potential investors would have wanted to

   know .

            E. H ilton.Pacific.and N ew H orizon A d ed A s U nreeistered Broker-D ealers

                     U S Energy retained H ilton to solicit investors forthe TN -K Y 1-111 offerings. U S

   Energy agreed to pay H ilton's com panies,N ew H orizon and then Pacific,for raising investor

   funds directly and through a boiler room where Hilton m anaged atleasttw o individuals to assist

   him w ith investorsolicitation.

            56.     A s a result of his prom otional efforts, U S Energy paid H ilton, directly and

   through New Horizon and Pacific, nearly $400,000. US Energy also paid Hilton for the
   promotionalefforts ofhis agents. To concealthe true nature of his work,Hilton required U S




                                                      13
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 14 of 29



   Energy to characterize its payments to him as a salary rather than traditional broker-dealer

   com m issions.

                    H ilton also entered into separate agreem ents w ith the sales agents who w orked in

   his boiler room . Hilton paid these agents com missions equal to six percent of the investor

   contributions they solicited.

                                IV . TH E O N G O IN G PA CIFIC FR AU D

                                       A . Solicitation ofInvestors

                                             1. R ock C astle I

          58.       Pacific,Rock Castle 1,and Hilton,directly and through Pacitk and Rock Castle 1,

   have been offering and selling partnership units in Rock Castle I from atleast February 2012

   through present,through personaltelephone callsto potentialinvestorsand m ailing a PPM and

   otherw ritten m aterialsto potentialinvestors.

          59.       A ccording to a PPM and term sheetH ilton sends potentialinvestors,Rock Castle

   l is a partnership organized to aèquire a 100 percent ççw orking interest'' and 70 percent net

   revenue interestin two oilwellsin RockcastleCounty,Kentucky,ata totalcostof$350,000,and
   then com m ence drilling ofthese two wells. According to the PPM ,a w orking interestis defned

   asGçan interestin an oiland gasleasethatgivesthe owneroftheinterestthe rightto drillforand

   produce oiland gas on the leased acreage....'' The Rock Castle I PPM represents to potential

   investors Pacitic w illdrill,test,and sellthe oiland gasin the tw o wells.

          60.       The tel'm s of the Rock Castle l offering are m em orialized in a PPM dated

   February 16,2012. Pursuant to the PPM ,each partnership unitconsists of a 2.857 percent

   working interestand a2 percentnetrevenue interestin Rock Castle I'sdrilling leases,priced at

   $10,000 each. The PPM statesRock Castle1seeksto raise $350,000.

                                                     14
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 15 of 29




           61.    The Rock Castle 1PPM statesthe minimum investm entis$10,000. However,in
    M arch and June 2012,Hilton solicited at least tw o investors w ho each purchased 25 percent of

    oneunitin Rock CastleIfor$2,500.
           62.    The PPM advises potential investors Rock Castle 1 w ill m ake quarterly

    distributionsderived prim arily from oi1and gasproduction and sales,with investorsreceiving 90

    percentofeach distribution and Pacitic receiving 10 percent.

                  Togetherwith thePPM ,Hilton also sendspotentialinvestorsalim itedpartnership

    agreem entto be executed by the investorand Hilton on behalfofPacitic,which isRock Castle

    1's generalpartner.

           64.    H ilton hastold atleast one potentialinvestor she could expectto receive m onthly

    revenue from herinvestm entin Rock Castle 1. Specitically,in early 2012,Hilton solicited an

    investorwho residesin Connecticutand told hershecould expectto receive $1,000perm onth in
    revenue ifshepurchased onepartnership unitin Rock Castle 1. Thisinvestorcontributed $2,500
    to acquire 25 percentofone partnership tm it.

           65.    Hilton has also told atleasttwo potentialinvestors in connection with the Rock

    CastleIinvestmentthatPacifichasacquiredtheoi1drillingleasesofamajoroi1company.
                  Once H ilton persuades a potentialinvestor to plzrchase units ofRock Castle 1,he

    instructsthe investorto send to Pacific'saddress in Boca Raton,Florida a check payable to Rock

   Castle 1.

                  N o registration statem enthas been filed or w as in effectw ith the Com m ission in

   connection with the Rock Castle l securities offçring, nor is there any entitlement to a

   registration exem ption.




                                                    15
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 16 of 29




                                            2. R ock C astle 11

           68.     Rock Castle ll,Pacific,and Hilton,directly and through Pacific and Rock Castle

   1I,have been offering and selling units in Rock Castle 11from no laterthan July 2012 tbrough

   present.

           69.     The tenns of the Rock Castle 11 offering are m emorialized in the tenn sheet,

   pursuantto which each unitconsistsofa .75 percentworking interestin the fourRock Castle 11

   wells,priced at$10,000 each. Aecording to the PPM ,Rock Castle 11seeksto sell80 unitsand
   raise$800,000.
           70.    According to anotherterm sheetHilton sends potentialinvestors, R ock Castle 11

   owns and will drill four oil wells in Rockcastle County, Kentucky - the M coueen W ell2,

   Mcoueen W ell3,Van W inkle W ell2,and Van W inkleW ell3. Accordingto materialsHilton
   hasprovided to atleastone investor,Pacitic is Eldrilling to completion''and hasdiscovered gas

   on theVan W inkle2 well.

           71.    Hilton contacts potential investors by telephone and sends them m arketing

   materials,subscription agreem ents,a suitability questionnaire, an investment term sheet,and

   copiesofdrilling perm itsand reports.

                  ln June 2012,Hilton sentatleastone potentialinvestor a written solicitation to

   investin Rock Castle Il. ln it,Hilton told the investorthe Rock Castle 11projectwillbe
   comprised offotlroiland/ornaturalgaswells,only 80 unitswillbe available, and investors will

   receive m onthly royalty paym ents. H ilton also tells investors Rock Castle 11w illdrilltw o w ells

   on the same lease Rock Castle1hason awellthatpurportedly çtencountered com mercialquantity

   oilon M ay 24,2012.55
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 17 of 29



                  H ilton also sends potçntial investors written instructions entitled lûl-
                                                                                          low to

    SubscribeforUnitFunds,''directing them to completethe subscription agreem entand suitability

    questionnaire and send those documents together with a check payable to Rock Castle 11 to

   Pacitk 'sm ailing addressin BocaRaton,Florida.

                  No registration statem enthasbeen filed orwasin effectwith the Com mission in

   connedion with the Rock Castle 11 securities offering, nor is there any entitlem ent to a

   registration exemption.

            75.   Sincethecom m encem entofthe offering,Hilton, Pacitk ,Rock Castle1,and Rock

   Castle11haveraised approximately $789,000 from atleast76 investorsnationwide.
        B. FraudulentM isrepresentationsand Om issionsin theRock Castlel& 11Offerines

                  ln connection with Rock Castle1and ll'soffering,Hilton, Pacific,Rock Castle 1,

   and Rock Castle 11 are making material misrepresentations and omissions about: (1) the
   accomplishmentsofPacitk 'soi1welldrillers;(2)theprospectsforoil;(3)the use ofinvestor
   funds;or(4)Hilton'sbackgroundandhistorywithregulatoryagencies.
                      False Statem ents A boutO iIW ellD rilline A nd Production

            77.   To lure potentialinvestorsto Rock Castle land Rock Castle 11, H ilton is m aking

   false statem entsaboutthe successofPacific'sdrillersin drilling oi1wells.



            78.   H ilton has distributed to atleastthree potentialinvestors a photograph of a w ell

   gushing oilwith Hilton'shandwritten note reading çû-l-he Ruble W ellwas produced by Pacific

   N orthwestern drillers on July 1,2011''and indicating the Ruble W ellproduces :1300 barrels per

   day.''

            79.   Hilton'sstatementto potentialinvestorsthatthe RubleW ellproduces300 barrels

   ofoilperday isfalse. The Ruble W ellhasneverproduced 300 barrelsofoi1perday. The most
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 18 of 29




    the w ell ever produced w as 120 barrels of oi1per day, and that only occun'
                                                                               ed on one day - the
    first day the w ell hit oil in July 2011. A fter that, the Ruble W ell production tapered off to

    approximately 10 barrelsofoi1perday and continued producing oi1atthatrate.

           80.    From approxim ately April2011 untilaboutJanuary 2012, Hilton received reports

    aboutthe Ruble W ell'soi1production and hasno reasonable basisforclaim ing itproduces 300

   barrels perday.

                      2. False Statem ents C oncernina The ProspectsFor O il

           81.    ln order to bolster his daim s that the Rock Castle l wells are good drilling

   prospects,Hilton ism akingfalse statem entsto potentialinvestorsthatExxon M obilCop oration,

   amajoroilcompany,oncedrilled in the same oiltield asRock CastleIin Rockcastle County,
   Kentucky. ButExxon M obilpurportedly lacked thetechnology to drillthe oilfrom the grotmd

   and therefore abandoned itswellsand drilling leases, which Pacific then acquired. By m aking

   these representations,Hilton is creating the false impression an untapped resource now lies in

   waitforRock Castlelto tap.

          82.     Forexample,in eady 2012,Hilton represented to a potentialinvestorthe Rock

   Castle Iwells are located in an oilfield where Exxon M obildrilled for oil. H ilton told the

   potentialinvestor Exxon M obil abandoned its wells in this oi1 field because there was no

   technology available to drill the oi1at that tim e. H ilton also told this potential investor he

   estim atesR ock Castle Iw illproduce 100 to 150 barrelsofoi1per day in these oilfields.

          83.    These statem entsare patently false and Hilton hasno reasonablebasisformaking

   them.Exxon M obilhasnothad any drillingprojectsinRockeastleCounty,Kentucky,1etalone
                                    :
                                    t

   in the oilfieldswhereRock Castle Iispurportedly drilling.
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 19 of 29



             84.   Additionally,Hilton istelling investors Pacific acquired Exxon M obil'sdrilling

   leases for the Rock Castle 1 oil field. This statem ent is false. Pacitk has not acquired any

   drilling leases from Exxon M obil. Hilton isPresident ofPacitk and knows Pacific has never

   acquired any drilling leases from Exxon M obil,letalone drilling leases forthe oi1tseld where

   Rock CastlelorRock Castle11ispurportedly drilling.

                                    3. M isuse oflnvestor Proceeds

           85.     Hilton,diredly and through Pacific,is also misusing and m isappropriating Rock

   Castleland Rock Castle11investoreontributionsdeposited in Pacitk 'saccount.

           86.     On June 1,2012,Hilton filed with the Commission a Form D forRock Castle 11

   stating no investorcontributionswould be used forpaym entsto him self. Hilton hasdireded at

   least one potentialinvestor to this Form D by fonvarding a screenshot of the Comm ission's

   ElectronicDataGathering,Analysis,and Retrievalsystem showing alinkto thisForm .

          87.      Contrary to H ilton's statem ent in the R ock Castle 11 Form D , Hilton is

   misappropriating investors' contributions. Since approximately early July 2012, Hilton has

   taken about$14,000 ofinvestors'comm ingled contributionsin Rock Castle Iand Rock Castle11.
   Hilton hasnotamendedtheRock Castle11Form D , which rem ainsin effect.

          88.      As of July 31, 2012, Hilton had m isappropriated approximately $41,000 in
   investors'contributions. H e has failed to disd ose these transfersto investors.

         4. False Statem entsA nd O m issions C oncernine H ilton'sA nd Pacific'sH istorv

          89.      Hilton, directly and through Pacitk , and Rock Castle I are m aking false

  statem ents to potential investors concerning Hilton's experience and omitting his regulatory

  history.




                                                   19
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 20 of 29



           90.    Forexample,Hilton isdistributing a Rock Castle1PPM topotentialinvestorsthat

    states:ç:M r.Hilton has developed a long and lasting relationship with third party drilling and

   completion expertsin theselocaloiland gasfields.''

           91.    This statem entis false. Hilton's experience in the oiland gas fields began less

   than eleventh m onthsbefore the date on the Rock Castle IPPM , in approxim ately April2011
                                                                                                  ,

   when he began working as a telem arketer to solicitinvestors for another oiland gas drilling

   venture.Priorto April2011,Hilton had no experiencein theoiland gasfields. Further,Hilton's

   work in the oiland gas fields was lim ited to soliciting investors untilapproxim ately February

   2012,when he com menced work on the Rock Castle 1investm ent. Thus,there isno reasonable

   basisforthe statem entin theRock Castle 1PPM aboutHilton'slong and lasting relationshipsin

   theoiland gasfields.

          92.    Rock Castle I is also m aking false claim s about Hilton's history with state

   regulatory agencies. Specitk ally,the Rock Castle lPPM , dated February 16,2012, statesthat

   during the past five years,none ofPacific's principalshave been the subjectofany formal
   complaintfiled with any state regulatory agency.

          93.    Thisstatementisfalse. Two weekspriorto theRock Castle1PPM 'Screation the
                                                                                     ,

   State ofColorado issued a cease-and-desistorderagainstHilton, halting his saleofum egistered

   securitiesin thatstate. In the M atterof United StatesEnergy Corp, et.al,Case N o.XY 12-CD -

  07(Co1o.,Feb.2,2012).
         94.     Rock Castle1isalso m aking false and m isleading statem entsconcerning Hilton's

  history ofthe Courtplacing his company into a receivership. The Rock Castle 1PPM states:

  ççNor... has a receiver... ever been appointed for the business or property of rpacifc's
  principalsl.'' This statementis false. In 2009,this DistrictCourtplaced a company Hilton
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 21 of 29



    owned into areceivership during theCom mission'slitigation ofthe priorsecuritiesenforcement

    adion againsthim .

           95.   Additionally,Pacificand Hilton,through Pacific, arem aking falseandm isleading

    statem ents through the Pacitsc website by stating,ttpacifk -Northwestern Energy has over 35
                                .




   years of eombined experience in the oi1 and gas industry.'' This statem ent is false. Hilton

   formed Pacifk lessthan oneyearago.

                                             CO UN T I

     SaleofUnreaistered Securitiesin Violation ofSections sta)and 5(c)oftheSecuritiesAct
                                                      -    -      -     -

                  A gainstH ilton,Pacific,R ock Castle 1,and R ock C astle 11

          96.    The Comm ission repeats and realleges paragraphs 1 through 5, 12 through 16

   through 18,22 through 32,and 55 through 73 ofthisComplaintasiffully restatedherein.

                 No registration statementwasfiled orin effectwith the Comm ission pttrsuantto

   the Securities Actand no exemption from registration existswith respectto the securities and

   transactionsdescribed in thisComplaint.

          98.    Hilton,from no laterthan M arch 2011through present;Pacific and Rock Castle1,

   from no laterthan February 2012 through present;and Rock Castle I1, from no laterthan July

   2012 through present,directly orindirectly have:(a)made useofthe meansorinstntmentsof
   transportation orcommunication in interstate eomm erceorofthem ailsto sellsecurities, through

   theuseormedium ofaprospectusorothem ise;(b)carried securitiesorcaused such securitiesto
   be carried through the m ails or in interstate com m erce, by any m eans or instrum ents of

   transportation,forthe purposeofsale ordelivery aftersale;and (c)made useofthemeansor
   instrum entsoftransportation orcommunication in interstate comm erceorofthem ailsto offerto

   sell or offer to buy through the use or m edium of any prospedus or otherwise, w ithout a



                                               21
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 22 of 29



   registration statem ent having been filed or being in effect with the Comm ission as to such

   securities.

          99.    By reason of the foregoing, Pacific, Rock Castle 1, Rock Castle 11 and Hilton

   directly orindirectly violated,and,unlessenjoined,isreasonably likely to continueto violate,
   Sections5(a)and 5(c)oftheSecuritiesActof1933 (theGûsecuritiesAct'')(15U.S.C.jj77e(a)
   and77e(c)j.
                                            CO UN T 11

           Fraud in Violation ofSection 10(b)and Rule 10b-5(b)oftheExchaneeAct
                    A gainstH ilton,Pacific,R ock C astle 1,and R ock C astle 11

          100. TheComm ission repeatsand reallegesparagraphs1through 95 ofitsComplaint.

          101. Hilton,from no laterthan M arch 2011through present;Pacitk and Rock Castle1,

   from no laterthan February 2012 through present;and Rock Castle II, from no later than July

   2012 through present, diredly or indirectly, by use of the means and instrum entalities of

   interstate eomm eree,and of the m ails in connedion with the purehase or sale of secm ities,

   knowingly,willfully orrecklessly have:(a)employed devices,schemesorartitkesto defraud;
   (b)madeuntruestatementsofmaterialfactsandomittedto statematerialfactsnecessaryin order
   to m ake the statements m ade,in lightofthe eircum stanees under whieh they were made, not

   misleading'
             ,or(c)engaged in ads,practicesand coursesofbusinesswhich have operated,are
   now operatingand willoperateasa fraud upon thepurchasersofsuch securities.

                 By reason ofthe foregoing,the Hilton,Pacific,Rock Castle land Rock Castle 11

   diredly orindiredly violated,and,unlessenjoined,arereasonably likelyto continuetoviolate,
   Section 10(b) ofthe Exchange Actof 1934 (the tçExchange Act'') (15 U.S.C.j 78j(b))and
   ExchangeActRule10b-5(17C.F.R.j240.10b-51.


                                                22
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 23 of 29




                                             C O U N T III

        Fraud in Violation ofSection 10(b)and Rules10b-5(a)and (c)oftheExchaneeAct
                                            AgainstH ilton

                  The Com m ission realleges and incorporates paragraphs 1 through 57 of this

   Com plaint.

           104. From no laterthan M arch 2011through atleastJanuary 2012,Hilton,directly and

    indirectly,by use of any m eans or instnlm entality ofinterstate com merce,or ofthe m ails,in

    connection with the ptlrchase or sale ofsecurities,knowingly,willfully orrecklessly employed

    devices,schemes,or artifices to defraud and engaged in acts,practices,or colzrses ofbusiness

   w hich operate orwould operate as a fraud ordeceitupon any person.

           105. By reason ofthe foregoing,the Hilton directly orindirectly violated,and,tmless

   enjoined,arereasonablylikelytocontinuetoviolate,Section 10(b)oftheExchangeActof1934
   (theûEExchangeAct'')g15U.S.C.j78j(b)1andExchangeActRulesl0b-5(a)and(c)(17C.F.R.j
   240.10b-51.
                                             C O UN T IV

                       Fraud in the O ffer or Sale of Securities in V iolation of
                           Section 17(a)(1)and (3)oftheSecuritiesAct
                                           A gainstH ilton

                  The Comm ission repeatsand reallegesparagraphs 1through 95 ofthisComplaint

   as iffully restated herein.

          107. From no laterthan M arch 2011 untilapproxim ately January 2012,H ilton,directly

   orindirectly,by use ofthe m eans orinstrum ents oftransportation or com m unication in interstate

   comm erce and by use ofthe mails,in the offerorsale ofsecudties,hasknowingly,willfully or

   recklessly employed devices,schem esorartificesto defraud.



                                                  23
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 24 of 29




          108. By reason of the foregoing, H ilton directly or indirectly violated, and, unless

   enjoined,isreasonably likely to continue to violate,Sections 17(a)(l)and (3)ofthe Seclzrities
   Act(15U.S.C.j77q(a)(1)and(a)(3)).
                                                COUNT V

                                Fraud in the O ffer or Sale of Securities in
                        Violation ofSections 17(a)(2)oftheSecuritiesA ct
                     A gainst H ilton,Pacific,R ock C astle l and Rock Castle 11

                 The Comm ission repeatsand reallegesparagraphs 1 through 95 ofthisComplaint

   asiffully restated herein.

          110. Hilton,from no laterthan M arch 2011through present;Pacitk and Rock Castle1,

   fTom no laterthan February 2012 through present;and Rock Castle 11,from no later than July

   2012 through present,directly orindirectly,in the offerorsale ofsecurities,by theuse ofm eans

   orinstrumentsoftransportation orcomm unication in interstate comm erce,orofthe m ailshave:

   (a)obtainedmoney orproperty by meansofuntruestatementsofmaterialfactorby omittingto
   state m aterial facts necessary in order to m ake the statem ents m ade, in the light of the

   circumstances underwhich they were made,notmisleading;or (b) engaged in transactions,
   practices or courses of business w hich operated or w ould operate as a fraud or deceit upon the

   purchasers ofsuch securities.

                 By reason of the foregoing,H ilton,Pacific,Rock Castle 1, and Rock Castle I1,

   directly orindirectlyviolated,and,tmlessenjoined,are reasonably likely to continueto violate,
   Section 17(a)(2)oftheSecuritiesActg15U.S.C.jj77q(a)(2)1.




                                                    24
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 25 of 29



                                             C O U N T VI

    Unrezistered Broker-Dealer Conductin Violation ofSection 15(a)(1)ofthe ExchaneeAct
                             A gainst H ilton,Pacific,and N ew H orizon

                  The Comm ission repeats and realleges paragraphs 12, 13, 16 through 18,22

   through 32,and 55 through 57 ofthisCom plaintasiffully restated herein.

          113. Hilton,from no laterthan M arch 2011 untilatleastJanuary 2012;New Horizon,

   from no later than M arch 2011 until at leastN ovem ber 2011; and Pacific, from no later than

   N ovem ber 2011 tm til January 2012, directly and indirectly by the use of the m eans and

   instrum entalities of interstate comm eree, while acting as a broker or dealer engaged in the

   businessof effecting transactions in securities forthe accounts of others,effected transactions in

    securities, or induced or attempted to induce the purchase and sale of securities, without

   registeringasabroker-dealerinaccordancewithSection 15(b)oftheExchangeAct,15U.S.C.j
    78o(b).
          114. By reason of the foregoing, Hilton, Pacific, and N ew Horizon, directly or

   indirectly,violated and, unless enjoined, will continue to violate Section 15(a)(1) of the
   EkchangeAct(15U.S.C.j78o(a)(1)1.
                                             CO U N T V Il

        In The A lternative.A idine A nd A bettine Pacific A nd N ew H orizon's U nretistered
           Broker-DealerConductin Violation ofSection 15(a)(1)ofthe ExchanzeAct
                                           A gainstH ilton

                 The Com m ission repeats and realleges paragraphs 12, 13, 16 through 18, 22

   through 32,and 55 through 57 ofthis Com plaintasiffully restated herein.

          116. New Horizon,from no laterthan M arch 2011 untilatleastN ovember2011;and

   Pacitk ,from no laterthan November2011 tmtilJanuary 2012,directly or indirectly,by theuse

   ofthe m eans and instrumentalities of interstate com merce,while acting as a broker or dealer
                                                  25
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 26 of 29



   engaged in thebusinessofeffectingtransactionsin securitiesforthe accountsofothers, effected

   transactions in securities,or induced or attem pted to induce the pttrchase and sale of securities,

   withoutregisteringasabroker-dealerin accordancewith Section 15(b)oftheExchangeAct, 15
   U.S.C.j78o(b).
                     Hilton knowingly orrecklessly provided substantialassistance to Pacific orNew

   Horizon inconnection withtheirviolationsofSection 15(a)(1)oftheExchangeAct          .



          118. By reason of the foregoing,Hilton aided and abetted Pacific orNew Horizon's

   violationsofSection 15(a)(1)oftheExchangeAct.g15U.S.C.j78o(a)(1)j           .



                                        RELIEF REOUESTED
          W HEREFO RE,theCom mission respectfully requeststhatthe Court:



                                           D eclaratorv R elief
                                                            -




          Declare,determine and find thatthe Defendants have committed the violations (?f the

   fç/eralsecuritieslawsallegedherein.
                                                   Il.

       Tem porarv Restraininz Order.Prelim inarv Iniunction and Perm anentIaiunction

         lssue a Temporary Restraining Order, a Preliminary Injunction and a Permanent
  lnjunction,restrainingandenjoining'
                                    .DefendantsHilton,Pacific,Rock Castle1, and Rock Castle
  lI, their oftk ers, agents, servants, employees,attorneys,and all persons in active concertor

  participation with them ,and each ofthem , from violating Section 17(a)(2)ofthe SecuritiesAct

  and Section 10(b)and Rule 10b-5(b) ofthe Exchange Actand Sections 5(a)and (c) ofthe
  Securities A ct.




                                                  26
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 27 of 29




          lssue a PermanentInjunction restraining and enjoining DefendantHilton,his officers,
   agents,servants,employees,attorneys,and allpersons in active concertorparticipation with

   him,from violating Rule 10b-5(a)and (c)ofthe Exchange Act;and DefendantsHilton, Pacific
   andNew Horizon,their officers,agents, servants,employees,attom eys,and al1personsin active

   concertor participation with them ,and each ofthem , from violating Section 15(a)(1)ofthe

   Exchange A ct.

                                                 111.

                              A ssetFreeze and Sw orn A ccountints

          Issue an Orderfreezing the assets ofHilton, Pacitic,Rock Castle 1,and Rock Castle 11

   untilfurther Order ofthe Courtand requiring Defendants Hilton, Pacific,Rock Castle 1,and

   Rock Castle11to file with thisCourtswol.
                                          n written accountings.

                                                 IV .

                                      R ecords Preservation
                                        -               -




         Issue an Orderrequiring DefendantsHilton, Pacific,Rock Castle 1,and Rock Castle11to

   preserve any recordsrelated to the subjectmatterofthis lawsuitthatare in theircustody or
  possession orsubjecttotheircontrol.
                                                 V.

                                            D iseorzem ent

         lssue an Order directing the Defendants to disgorge all ill-gotten gains, including

  prejudgmentinterest,resultingfrom theactsorcoursesofconductalleged inthisComplaint   .




                                                 27
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 28 of 29




                                                 5:1.

                                              Penalties

          lssue an Orderdirecting allDefendantsto pay civilm oney penaltiespursuantto Section

   20(d)oftheSecuritiesAct,15U.S.C.j77t(d),andSection21(d)oftheExchangeAct, 15 U .S.C.
   j78u(d).
                                                V Il.

                      OrderPursuantTo Section 21(e)oftheExchanzeAct
          lssue an Order directing Hilton to comply with the broker-dealer barthe Commission

   issued againsthim,In theMatterofloseph F?
                                           zr/cïn,ExchangeActReleaseNo 58768 (Oct.10,
                                                                                .



   2008),pursuantto Section 21(e)oftheExchangeAct.
                                               A7lll.

                                          Further R elief

         Grantsuch otherand furtherreliefasm ay be necessary and appropriate.

                                                lX .

                                    R etention ofJurisdiction

         Further,theCommission respectfully requeststhattheCourtretainjurisdiction overthis
   action in orderto implem entand carry outthetermsofallordersand decreesthatitmay enter, or

  to entertain any suitable application orm otion by the Comm ission foradditionalreliefwithin the

  jurisdictionofthisCourt.




                                                28
Case 9:12-cv-81033-DMM Document 3 Entered on FLSD Docket 09/24/2012 Page 29 of 29



   Septem ber24,2012                   Respectfully subm itted,
                                                           .,'          .


                                                                        g/
                                                                        ?
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